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                                    United States District Court
                                       District Of Maryland
     Chambers of                                                                        101 West Lombard Street
Ellen Lipton Hollander                                                                  Baltimore, Maryland 21201
  District Court Judge                                                                        410-962-0742



                                                 April 2, 2025

      LETTER TO COUNSEL

             Re:      American Federation of State, County and Municipal Employees,
                      AFL-CIO, et al. v. Social Security Administration, et al.
                      Civil Action No. ELH-25-0596

      Dear Counsel:

              The Court has just received defendants’ Motion for Entry of Protective Order (ECF 84)
      and accompanying proposed Protective Order Regarding Confidential Information (“C.I.”) (ECF
      84-1, “Proposed Protective Order”) (collectively, the “Motion”). Plaintiffs oppose the Proposed
      Protective Order, as written. ECF 89. They also ask the Court to modify the briefing schedule for
      the impending motion for preliminary injunction. Id. at 3. Upon a quick review of the Proposed
      Protective Order, I spot several glaring issues.
               First, paragraphs 14 and 36 of the Proposed Protective Order appear to be inconsistent.
      Paragraph 14 states that “. . . this Protective Order does not govern the Parties’ use of Confidential
      Information in open court at any hearing . . . .” ECF 84-1 at 3. But, in paragraph 36, it states: “No
      party may disclose Confidential Information in a proceeding in open court for any reason without
      first giving seven (7) days’ notice to the Designating Party who, after a good faith effort to meet-
      and-confer, may seek additional relief from the Court . . . .” Id. at 9.
             Paragraph 36 appears problematic and unworkable. For example, the Court may pose a
      question at a hearing for which the answer requires reference to C.I. Clearly, seven days’ notice
      would not be possible.
              Second, paragraph 35, as written. is unacceptable. SSA is a defendant. Therefore, the
      provision would seemingly permit disclosure of C.I. to anyone at SSA. Conversely, disclosure to
      plaintiffs, but not plaintiffs’ members, is prohibited. But, paragraph 35 does not specify who at
      plaintiffs’ organizations is entitled to access the C.I.
              The government was previously ordered to produce the Administrative Record to plaintiffs
      by 3:00 p.m. today. ECF 69. However, defense counsel advised the Court, by email, that because
      of the dispute concerning the Motion, the government has not yet produced the Administrative
      Record to counsel for plaintiffs. See ECF 90.
            Delay of the disclosure of the Administrative Record is not acceptable. Therefore, the
      government is directed to produce the Administrative Record to counsel for plaintiffs
      immediately, so that plaintiffs can begin their work on the motion for preliminary injunction, due
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on April 4, 2025. However, until further notice, plaintiffs’ counsel shall abide by the terms of the
Proposed Protective Order, pending further Order of the Court.
        Plaintiffs shall further respond to the Motion by 9:00 a.m. on April 3, 2025. Defendants
shall reply by 2:00 p.m. on April 3, 2025. Due to a speaking engagement on Thursday, I cannot
hold a hearing on Thursday afternoon. Instead, the Court will hold a telephone hearing on the
Motion beginning at 10:00 a.m. on April 4, 2025. The government is directed to provide
conference call information. A public access line will be provided by the Court.
        In view of the time of the hearing on the Motion, the Court will extend the time for
plaintiffs’ submission of the motion for preliminary injunction to 2:00 p.m. on April 4, 2025.
       Despite the informal nature of this letter, it is an Order of the Court and the Clerk is directed
to docket it as such.
                                                        Very truly yours,


                                                                  /s/
                                                        Ellen Lipton Hollander
                                                        United States District Judge




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